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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
__________________________________
                                   )
METLIFE, INC.,                     )
                                   )
            Plaintiff,             )
                                   )
      v.                           )    Civil Action No. 15-cv-45 (RMC)
                                   )
FINANCIAL STABILITY                )
OVERSIGHT COUNCIL,                 )
                                   )
                                   )
                                   )
            Defendant.             )
_________________________________  )


                                                               ORDER

                             Having settled this matter while it was pending on appeal before the Circuit Court

for the District of Columbia Circuit,1 MetLife, Inc., and the Financial Stability Oversight Council

(FSOC) ask this Court to vacate its Opinion and Order of March 30, 2016, in part, insofar as they

(1) require FSOC to consider the attendant costs as well as the presumed benefits to be obtained

from designating a nonbank entity as a systemically important financial institution (SIFI); and

(2) grant relief to MetLife on Count VII of its Complaint. See Joint Mot. to Vacate in part March

30, Order and Opinion [Dkt. 122] (Mot. to Vacate); see also Order [Dkt. 105]; Opinion at 28-33

[Dkt. 106] (subsection headed, “The Agency Ignored a Relevant Consideration: Cost”). This

case originated when MetLife challenged its designation by FSOC under the Dodd-Frank Wall


                                                            
1
 See Joint Stipulated Motion to Voluntarily Dismiss Appeal, No. 16-5086 [Dkt. 1713600] (D.C.
Cir. Jan. 18, 2018); Order, No. 16-5086 [Dkt. 1714216] (D.C. Cir. Jan. 23, 2018) (dismissing the
case).
                                                                 1
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Street Reform and Consumer Protection Act, Pub. L. 111-203, 124 Stat. 1376 (2010), as a

nonbank financial company whose material financial distress could pose a threat to the financial

stability of the United States.

                             Rule 60(b)(6), under which the parties filed the Motion to Vacate, provides that

“[o]n motion and just terms, the court may relieve a party or its legal representative from a final

judgment, order or proceeding for . . . any [] reason that justifies relief.” Fed. R. Civ. P.

60(b)(6). The parties submit that their agreement to file the instant motion in connection with

their settlement constitutes a reason justifying relief because voluntary settlement has long been

favored by the courts. See Am. Security Vanlines, Inc. v. Gallagher, 782 F.2d 1056, 1060 (D.C.

Cir. 1986); Wright v. Foreign Serv. Grievance Bd., 503 F. Supp. 2d 163, 176 (D.D.C. 2007),

aff’d, No. 07-5328, 2008 WL 4068606 (D.C. Cir. Mar. 17, 2008).2 In addition, “[g]ranting the

motion would further the interests of voluntary settlement by providing FSOC with a benefit it

hoped to gain by entering into the settlement and dismissing its appeal.” Mot. to Vacate at 2.

                             In considering the motion, the Court takes judicial notice of the Presidential

Memorandum for the Secretary of the Treasury Issued on April 21, 2017, which ordered the

Secretary to “conduct a thorough review of the FSOC determination and designation processes

under section 113 (12 U.S.C. 5323) and section 804 (12 U.S.C. 5463) of the Dodd-Frank Act and

provide a written report” within 180 days. Memorandum for the Secretary of the Treasury,

Financial Stability Oversight Council (Apr. 21, 2017), https://www.whitehouse.gov/presidential-

actions/presidential-memorandum-secretary-treasury/ (last visited Feb. 28, 2018). The Court

further takes judicial notice of Treasury’s Report to the President of the United States Pursuant to



                                                            
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  The parties also note that “MetLife joins this motion pursuant to its agreement with FSOC to
file a joint motion to dismiss the appeal.” Mot. to Vacate at 2 n.1.
                                                               2
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the Presidential Memorandum Issued April 21, 2017, dated November 17, 2017 and containing

the Secretary’s recommendations on FSOC determination and designation processes. See Report

to the President of the United States Pursuant to the Presidential Memorandum Issued April 21,

2017, Financial Stability Oversight Council Designations (Nov. 17, 2017),

https://www.treasury.gov/press-center/press-releases/Documents/PM-FSOC-Designations-

Memo-11-17.pdf (last visited Feb. 28, 2018). Therein, the Secretary recommended that “FSOC

should revise its guidance to provide that FSOC will conduct a cost-benefit analysis as part of its

analyses, and FSOC should only designate a company if the expected benefits to financial

stability outweigh the costs of designation.” U.S. Dept. of the Treasury, Treasury Releases

Memorandum to the President on FSOC’s Designation Processes for Nonbank Financial

Companies and Financial Market Utilities (Nov. 17, 2017), https://www.treasury.gov/press-

center/press-releases/Pages/sm0218.aspx (last visited Feb. 28, 2018). Steven Mnuchin, Secretary

of the Treasury, commented in a statement, “Our recommendation would directly address the

concerns identified by the district court in the MetLife case.” U.S. Dept. of the Treasury,

Secretary Statements & Remarks, Secretary Mnuchin Statement on the MetLife, Inc. v. Financial

Stability Oversight Council Appeal (Jan. 18, 2018), https://home.treasury.gov/news/press-

releases/sm0254 (last visited Feb. 28, 2018).

               In reaching its decision herein, this Court studied Michigan v. Environmental

Protection Agency, 135 S. Ct. 2699, 2707 (2015), and compared its analysis of certain terms in

the Clean Air Act, 42 U.S.C. § 7412(n)(1)(A) (providing that power plant regulation must be

“appropriate and necessary”), to similar terms in Dodd-Frank. See 12 U.S.C. § 5323(a)(2)(K)

(providing for consideration of “any other risk-related factors that the Council deems

appropriate”). See Opinion at 29-33. The Supreme Court found that cost is a “centrally relevant



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factor when deciding whether to regulate” (emphasis added), as FSOC was deciding here vis-à-

vis MetLife, and that “[c]onsideration of cost reflects the understanding that reasonable

regulation ordinarily requires paying attention to the advantages and the disadvantages of agency

decisions.” Michigan v. EPA, 135 S. Ct. at 2707. This Court also found that the cost of

designation was a risk-related factor. Opinion at 31-33.

                The Court finds no reason to vacate the relevant holding of its Opinion or its

Order on Count VII. See Fed. R. Civ. P. 60(b)(6) (providing that the Court may relieve a party

from a final order for any “reason that justifies relief”). Moreover, given that the parties have

already settled, there is no reason for the Court to take further action in the interests of promoting

voluntary settlement. The Secretary might prefer to act as a matter of his discretion while this

Court has found consideration of both costs and benefits to be legally required by EPA v.

Michigan. This Court is one of 94 United States District Courts, comprising several hundred

judges, and its Opinion is not binding on others; the Opinion stands on its own persuasive value,

to the extent it has any. That it might be cited in future litigation is not a reason to vacate it.

                The Joint Motion to Vacate in Part March 30, 2016 Order and Opinion [Dkt. 122]

is DENIED.



Date: February 28, 2018
                                                                       /s/
                                                        ROSEMARY M. COLLYER
                                                        United States District Judge




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